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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ELLIOT MCGUCKEN,
                                        Case No. 1:22-cv-00905 (JHR)
                  Plaintiff,

      -against-

 SHUTTERSTOCK, INC.,

                  Defendant.




     DEFENDANT SHUTTERSTOCK, INC.’S REPLY MEMORANDUM OF LAW
IN FURTHER SUPPORT OF ITS MOTION FOR ATTORNEYS’ FEES AND SANCTIONS




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                                 PRELIMINARY STATEMENT1

       Plaintiff’s Opposition confirms his and counsel’s true objective for this case: seed the

internet with images, eliminate the notice provisions written in the DMCA, hold every platform

strictly liable for acts of third parties, and sit back and profit endlessly with demands for allegedly

“willful” infringement occurring due to an isolated few third-party bad actors’ uploading of

unauthorized material. Judge Hellerstein made it quite clear to Plaintiff and counsel that their

scheme was full of holes, and this Court confirmed the same. Yet in opposition to Shutterstock’s

fees Motion, Plaintiff audaciously claims that only one case (Steinmetz) supported Shutterstock,

re-asserts legions of already-rejected cases, and implies that fees cannot be awarded where a

defendant wins on a defense. Worse, Plaintiff and his counsel ask for a perverse outcome where

copyright owners should not cooperate with the terms of the DMCA; instead, they should freely

allow infringing content to circulate, and then use this Court to repeatedly sue legitimate and good-

faith platforms.

       Congress made a policy decision 25 years ago that expressly guarded against this outcome.

Despite this, the Doniger Firm has been using serial-litigant, mostly-hobbyist landscape

photographers as a tool to force legitimate platforms to either litigate, or pay each client an

unjustified multimillion-dollar settlement. Nowhere in their over-length and scattershot arguments

do Plaintiff or counsel dispute this fundamental fact. They do not dispute that they also have sued

innocent (and indemnified) licensees of the Images, in effort to obtain double recovery. They do

not deny demanding $150,000 per Image, even though they never provided Shutterstock with any

reason to know that of the 420-plus million contributor-submitted assets on its platform, 337 were



1
 As used herein, “Motion” and “Mot.” refer to Shutterstock’s brief in support of its Motion for
Attorneys’ Fees and Sanctions (Dkt. No. 142), and “Opposition” and “Opp.” refer to Plaintiff’s
opposition (Dkt. No. 149). Capitalized terms used herein have the same meanings as in the Motion.
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allegedly infringing. And, by the time they alleged it, the Images already had been removed.

       The pattern here is clear, and the desire to use the courts to change the law has no place

within Rule 11 or otherwise. The contortion of legal holdings and misrepresentations of the facts

in Plaintiff’s Opposition only serve to underscore that Shutterstock has paid enough for its

successful defense against the repeated attacks of its platform—which is important to millions of

legitimate photographers, and to an ecosystem that encourages licensing rather than infringement.

The best way to deter these future suits and to encourage compliance with the instructions of the

DMCA is to show that if a plaintiff seeks to try to change black-letter law through litigation, he

should have to bear the cost when he fails. Shutterstock’s Motion should be granted in full.

                                           ARGUMENT

I.     SHUTTERSTOCK IS ENTITLED TO RECOVER ITS ATTORNEYS’ FEES

       A.      Plaintiff’s Efforts to Deflect by Re-Casting and Re-Litigating the Case
               Underscore the Objective Unreasonableness of His Claim.
       Nowhere in Plaintiff’s over-length brief is there any contention that a platform that serves

to host and transmit content at the instance and direction of third parties is not within the DMCA.

Nor does Plaintiff address the facts that Shutterstock disabled the image Plaintiff identified, and

that Plaintiff is responsible under the DMCA to send notices. Instead, Plaintiff seeks to re-litigate

a reformulated version of the case, offering plainly off-point law and claiming that Steinmetz v.

Shutterstock, Inc., 629 F. Supp. 3d 74 (S.D.N.Y. 2022), is the only case analogous to this one.

       Plaintiff’s straw-man argument is not only improper, it is wrong.            As set forth in

Shutterstock’s Motion (at 8-11), Plaintiff’s pursuit of this lawsuit was objectively unreasonable at

all times, and his Opposition only highlights the lengths to which Plaintiff will go to avoid the

consequences of his unsupported strategy. For example, Plaintiff disingenuously claims that law

pertaining to a well-defined, 25-year-old statute is “developing,” “somewhat uncharted,” “highly



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technical,” and “relatively novel.” Opp. at 3, 8, 25. But as Judge Hellerstein and this Court

recognized, the statute itself makes it very clear that Shutterstock is within the DMCA safe harbor

and Plaintiff is obligated to send takedown notices, which he did not do. He even claims there is

some sort of a “split of authority,” citing the same off-point case (Mavrix) that he has cited before.

Compare Opp. at 5 with Dkt. No. 106 at 26-27; see also Dkt. No. 118 at 12, n.9. Yet, as before,

nowhere does Plaintiff dispute that, under decade-plus-old law in this Circuit and the Ninth Circuit,

online service providers that operate a system that hosts user content and expeditiously remove

allegedly infringing content are not liable for infringement. See Dkt. No. 138 (“Order”) at 8-19;

see also Steinmetz, 629 F. Supp. 3d at 81 (“courts have repeatedly held that defendants offering

similar file-sharing based services qualify as [DMCA] ‘service providers’”) (collecting cases).

       As must have been clear to Plaintiff, the point of Shutterstock’s citation of Steinmetz is to

show how exceptionally unreasonable Plaintiff’s claims are in this case. Whereas none of the law

justified the lawsuit before the Steinmetz decision, that ruling walked Plaintiff and his counsel—

step-by-step—through how and why Plaintiff’s positions were unfounded. See id. at 80-85. Judge

Hellerstein found the challenge to Shutterstock’s safe harbor eligibility so meritless that he even

determined that two summary judgment briefs from each side was enough, awarded costs to

Shutterstock, and invited Shutterstock to submit documentation of its attorneys’ fees, which might

have been granted had the appeal and fees motion not been withdrawn in resolution. See Steinmetz

v. Shutterstock, Inc., No. 21 Civ. 7100 (AKH), Dkt. Nos. 81, 96, 101 (S.D.N.Y.).

       Plaintiff’s election to lock onto Shutterstock’s point and criticize the Steinmetz decision as

non-binding misses the forest for a single tree. This is not a motion for reconsideration, and citing

the same off-point cases confirms that Plaintiff either is willfully blind to black-letter law or

believes that the Court will be duped by his complex rehashing of the merits. Shutterstock already




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explained why these cases are off-point (see Dkt. No. 118 at 7-8, 12, 18, 32), and the Court agreed.

       B.      Plaintiff Does Not Dispute Shutterstock’s Complete Success on the Merits.

       Plaintiff does not dispute Shutterstock’s complete success on the merits, which strongly

favors an award of fees. See Tuff ‘N’ Rumble Mgmt., Inc. v. Profile Records, Inc., No. 95 Civ.

0246 (SHS), 1997 WL 470114, at *1 (S.D.N.Y. Aug. 15, 1997). Instead, Plaintiff contends he too

was successful, “at least partially,” because (1) he “effectively obtained the injunctive relief he

sought[;]” and (2) “liability would [have been] found barring [the DMCA].” Opp. at 12-13. Both

contentions are false, further highlighting the objective unreasonableness of Plaintiff’s claims. 2

       First, Plaintiff did not obtain any injunctive relief in this case. He lost. In fact, Plaintiff

had no basis for an injunction, because Shutterstock had already removed all of the Images from

its platform (and terminated the Contributors’ accounts) before Plaintiff identified them for the

first time in his pleadings. See Mot. at 3-4; cf. Opp. at 2 (misrepresenting that “this suit directly

resulted in [] Shutterstock ceasing” use). And even if the Images had not been removed (as they

were), Plaintiff could have and should have obtained the same relief by sending a DMCA takedown

notice to Shutterstock, but chose not to do so (except as to the Noticed Image, which Shutterstock

promptly removed). Dkt. No. 126 ¶¶ 40, 51. This calculated strategy runs counter to the DMCA.

       Second, Plaintiff’s assertion that he “adduced [ ] evidence [of certain facts]” 3 establishing

he “could succeed on his copyright infringement claim but for the application of the DMCA” (Opp.


2
 The case Plaintiff cites is distinguishable and in no way supports his argument that he “did not
act frivolously in filing this suit.” Opp. at 12 (citing Romanowicz v. Alister & Paine, Inc., No. 17
Civ. 8937 (PAE) (KHP), 2018 WL 4762980 (S.D.N.Y. Aug. 3, 2018), report and recommendation
adopted, 2018 WL 4759768 (S.D.N.Y. Oct. 1, 2018)). The defendant in Romanowicz was not an
online service provider entitled to the DMCA safe harbor. Id. at *6.
3
  Plaintiff did not establish these facts. See, e.g., Opp. at 7 (claiming to have “adduced [ ] evidence”
that licenses are “entered into directly between Shutterstock and its customers”); contra Dkt. No.
119 ¶ 23 (disputing that “Shutterstock ‘contracts directly’ with customers” and providing evidence
that Shutterstock is merely an “intermediary in the licensing of contributor-submitted images”).


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at 7) is meritless and pointless. In fact, Plaintiff failed to establish essential elements of such claim.

See Dkt. No. 118 at 21-24. Regardless, pursuing a claim for which liability may exist “but for” a

decades-old, plainly-applicable affirmative defense is not a “success;” it is objectively

unreasonable, particularly where certain points are presumed for the motion. Tellingly, Plaintiff

does not claim any semblance of success (or even try to defend) his Section 1202 claim.

        Plaintiff’s efforts (Opp. at 10-11) to distinguish Shutterstock’s cited cases awarding fees to

defendants who successfully defended against copyright claims (Mot. at 8, n.7) do not pass the

straight-face test. Indeed, the single-spaced recitation of cases expressly debunks Plaintiff’s own

theory (at 7) that fees cannot be awarded when the defendant prevails on a defense: the list includes

scenarios where the defendant did prevail on defenses such as the statute of limitations and fair

use. See Opp. at 10-11. In the aggregate, all Plaintiff achieves is showing there are limitless fact

patterns that can lead to a fee award in service of the interests of the Copyright Act.

        C.      Attorneys’ Fees Should Be Awarded to Encourage Copyright Owners to
                Enforce Their Rights Pursuant to the DMCA, Not by Litigation.

        As set forth in Shutterstock’s Motion (at 11-13), fees should be awarded not only to

compensate Shutterstock for once again vindicating its meritorious defense, but also to deter

Plaintiff (and others) from similarly pursuing meritless claims in disregard of the DMCA. To be

sure, Shutterstock has no interest in “deter[ring] [Plaintiff] and other artists from enforcing their

copyrights” (Opp. at 16), 4 and awarding fees here would do nothing of the sort. To the contrary,

such an award would encourage copyright owners to enforce their rights against online service

providers in the way that Congress intended—that is, through the DMCA’s notice-and-takedown

provision, and not through litigation. See S. Rep. No. 105–190, at 20 (1998) (DMCA is intended



4
  It is well-established that Shutterstock has every incentive to keep infringing content off its
platform and takes steps beyond what the law requires to avoid this. See Dkt. No. 96 ¶¶ 10-11, 30.


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to create “strong incentives for service providers and copyright owners to cooperate to detect and

deal with copyright infringements” through notice-and-takedown); H.R. Rep. No. 105–551, pt. 2,

at 49-50 (1998). As Plaintiff’s continued pursuit of this lawsuit after the Steinmetz decision makes

clear, without any financial consequences, Plaintiff (and others) will not be discouraged from

similarly hiring contingency-fee lawyers to misuse the court system in effort to obtain payments

on claims that could and should have been resolved with a DMCA takedown notice.

       Plaintiff points to the “relative finances of the parties,” but this warrants no consideration

because he “submitted no evidence at all as to his [own] financial circumstances.” Kanongataa v.

Am. Broad. Cos., Inc., No. 16 Civ. 7382 (LAK), 2017 WL 4776981, at *2 (S.D.N.Y. Oct. 4, 2017)

(emphasis added) (unsworn statement of counsel insufficient; full fees awarded). In any event, the

purported “little guy” 5 should not be given carte blanche to pursue meritless claims against anyone

at substantial cost, regardless of the purported reasonableness of the claim. Cf. Kirtsaeng v. John

Wiley & Sons, Inc., 579 U.S. 197, 209 (2016) (fees may be awarded to deter “overaggressive

assertions of copyright claims, [ ] even if the losing position was reasonable”) (citation omitted).

       D.      Plaintiff Was Improperly Motivated by the Prospect Of Windfall Statutory
               Damages and Settlement, Not by Vindication of Legitimate Copyright Rights.

       As set forth in Shutterstock’s Motion (at 14-16), the record establishes that Plaintiff’s

motivation in bringing and perpetuating this lawsuit was not a bona fide desire to recover the relief

he requested, but to obtain an unwarranted financial windfall from a perceived deep-pocketed

defendant. Plaintiff does not deny that he sought nearly $60 million in damages for Images that



5
  Plaintiff describes himself as an “independent artist” who gives away his works in the interest of
“brand building.” Opp. at 15, 17. That said, the fact that Plaintiff’s “livelihood” from his
photographs (id. at 2) (following termination of his teaching job) is nearly entirely based on
litigation settlements suggests he is capable of paying the fees that he forced Shutterstock to incur.
See Declaration of Eleanor M. Lackman dated Nov. 30, 2023 (“Lackman Reply Decl.”), ¶ 2, Ex.
A at 32:22-35:8. It is further reason for holding the Doniger Firm jointly and severally liable.


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he never licensed and for which Shutterstock generated only $2,131.60 in revenue. 6 He claims

that he was “properly motivated to protect his work” (Opp. at 13), but the facts show he was

motivated not to do so. Indeed, in this calculated action, Plaintiff admitted that he: (1) sent one

takedown notice identifying one of the Images (Dkt. No. 126 ¶¶ 40, 51); (2) never sent takedown

notices to the third-party websites that allegedly displayed his Images (id. ¶ 76); and (3) offers his

images for free, unlimited downloads via the third-party website Flickr (Dkt. No. 122 ¶ 85). 7

Plaintiff’s claim that he pursued this case to change the law for the benefit of other photographers

fares no better. Not only is this an improper use of the court system, but Plaintiff fails to realize

that judgment in his favor would injure the millions of photographers and artists who have made

over $1 billion in royalties from licensing legitimate works on Shutterstock’s platform. This is the

sort of thriving ecosystem that the Copyright Act encourages and why the DMCA exists.

II.    THE DONIGER FIRM SHOULD BE SANCTIONED AND HELD JOINTLY AND
       SEVERALLY LIABLE

       In Plaintiff’s opposition papers, the truth comes out: all of these cases against Shutterstock

that the Doniger Firm has pursued are driven by a desire for contingency-fee revenues via erasure

of the notice-and-takedown provisions from the Copyright Act. Mot. at 3, n.3. Not only does the

Doniger Firm fail to recognize that policy arguments are not for the courts, it obscures that there

was nothing stopping Plaintiff—or any of the other parties—from sending DMCA notices. The

papers do not dispute that Plaintiff (through the Doniger Firm) has sued licensees of the Images as


6
 Plaintiff claims (at 7) that he offered to settle for “only a fraction” of the $150,000 in statutory
damages per work that the complaint demanded, but he never stood to recover anything close. He
never pleaded any facts suggesting willfulness on Shutterstock’s part. Cf. 17 U.S.C. § 504(c).
7
   Plaintiff ineffectively deflects his practice of putting hundreds of thousands of landscape
photographs on social media sharing sites without standard protections, by saying that he
registered his works with the Copyright Office. This is akin to saying that a nice car that is placed
in a high-risk neighborhood, with the doors unlocked and the keys visibly placed on the front seat,
is protected from theft because the car is registered with the DMV.


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well, see id., which means that the thrust of their arguments is that not only should the DMCA safe

harbor be thrown out, but they (and counsel) should get double recovery. This is plenty to show

that the Doniger Firm is seeking to take their high-volume sue-and-settle practice to a new level.

       The firm perfunctorily defends its specifically-identified improprieties (see Opp. at 17-20)

on various grounds, none of which is availing nor diminishes its thirst for profit. For instance,

counsel shrugs off the demand for willfulness damages, when the Doniger Firm evidently

discouraged its client from sending DMCA notices to Shutterstock. Counsel makes no defense of

its Section 1202 claim other than to point out that no other firm had the gall to bring a meritless

claim with no hope of proving the double-scienter test. As noted above, counsel also falsely claims

there is a “split of authority” as to whether the DMCA applies to an online service provider that

connects sellers and buyers of works, advocates for the elimination of the DMCA notice

requirement, parrots its losing positions, and leans into the discretion for fees when the Doniger

Firm has made strident arguments to the contrary. See, e.g., Star Fabrics, Inc. v. Millenium

Clothing, Inc., No. 14 Civ. 826 (SVW) (SS), 2015 WL 12656947, at *8 (C.D. Cal. Mar. 31, 2015);

Sygall v. Pitsicalis, 18 Civ. 2730 (VSB) (SN), 2022 WL 3044773, at *5-6 (S.D.N.Y. May 16,

2022), report and recommendation adopted, 2022 WL 3044574 (S.D.N.Y. Aug. 2, 2022). 8

       Even while on the ropes, the papers assert already-refuted and demonstrably contorted

facts, including claiming that identified Images were not disabled; casting Shutterstock’s notice to

users of a claim as some type of admission; claiming he made more than one settlement offer when

he only made one for $3,180,000, after he was made aware of the $2,131.60 in revenues; asserting

that Plaintiff “won” on facts that were conceded for purposes of Shutterstock’s summary judgment



8
  The Doniger Firm’s failure to follow simple rules is characteristic of its overreach: whereas
Shutterstock limited its moving brief to 22 pages to accommodate its short single-spaced section,
Plaintiff’s Opposition contains extensive single-spacing (Opp. at 8-11) and is a full 25 pages.


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motion; and obscuring procedural history that would be apparent to Judge Woods, including that

Plaintiff was ordered to produce an updated privilege log as part of the referenced sanctions motion

and refused to agree to a simple way to address the Section 1202 claim in a bifurcated motion. See

Opp. at 14, 22, n.12; Lackman Reply Decl. ¶¶ 3-5, 6, 8. These statements are not be isolated errors;

rather, they form part of an overall pattern of disregard for not just the law, but Rule 11.

III.   SHUTTERSTOCK SHOULD BE AWARDED THE FULL AMOUNT REQUESTED

       Plaintiff repeats arguments that Shutterstock already has refuted in the Steinmetz case,

including that every person who has worked on a case has to submit a separate affidavit—a case

that Plaintiff’s own authority belies. See Opp. at 20 (citing Johnson v. Kay, 742 F. Supp. 822, 837

(S.D.N.Y. 1990) (holding “contemporaneous time records” are alone sufficient). He claims that

information such as the work and biographies of the team are not identified, when they plainly are.

See Dkt. No. 143 (cited herein as “Lackman Mot. Decl.”) ¶¶ 3-4, 6-11 & Ex. A.

       Plaintiff complains that the number of hours (not the rate) is too high, even though they

fall well within the range of what others have reasonably billed through summary judgment. See

Mot. at 20. The fact that the number of hours is higher than those sought in Steinmetz (Opp. at 22)

is irrelevant. It is well-settled that “attorney’s fees are dependent on the unique facts of each case,”

Clarke v. Frank, 960 F.2d 1146, 1153 (2d Cir. 1992) (citation omitted), and there are multiple

reasons why this case required more work (Lackman Reply Decl. ¶¶ 7-8, including, for example,

the fact that this case involved hundreds of Images which were uploaded to Shutterstock’s platform

by three different contributors over roughly a four-year period and removed at various points for

reasons unrelated to Plaintiff. See Dkt. No. 96 ¶¶ 37, 42-43, 48. Plaintiff also complains about

the hours spent on a sanctions motion—which Judge Woods asked Shutterstock to make (Dkt. No.

59)—and falsely says that such motion “failed” (Opp. at 22). While the Doniger Firm escaped




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monetary sanctions, Plaintiff was ordered to prepare a revised privilege log. See Dkt. No. 80.

Plaintiff nitpicks that a partner reviewed an associate’s work and that there were multiple people

on the team, but these arguments have been rejected repeatedly—not to mention that counsel’s

improper behavior required extra resources. See Johnson v. Univ. College of Univ. of Ala. in

Birmingham, 706 F.2d 1205, 1208 (11th Cir. 1983); Beastie Boys v. Monster Energy Co., 112 F.

Supp. 3d 31, 55 (S.D.N.Y. 2015). Tellingly, Plaintiff does not point to any specific time records

indicating inefficiencies. See Lackman Mot. Decl. ¶ 16 & Ex. A.

       Plaintiff requests a reduction of the requested fees due to the parties’ “relative financial

strength,” but as noted supra, he has waived this argument. 9 This is not “the rare case[] in which

it is appropriate to [deviate from] the presumptively reasonable fee,” Patsy’s Brand, Inc. v. I.O.B.

Realty, Inc., No. 99 Civ. 10175 (KMW), 2022 WL 1026577, at *5 (S.D.N.Y. Apr. 6, 2022),

especially given Shutterstock obtained such excellent results. See Mot. at 21 (citing cases). Nor

is it appropriate to reduce the requested costs for deposition materials and related services, which

Shutterstock reasonably and necessarily purchased for use in this case. See Lackman Mot. Decl.

¶ 18; Dkt. No. 145 ¶¶ 4-6. 10

                                          CONCLUSION

       Accordingly, Shutterstock respectfully requests that the Court award attorneys’ fees and

costs in the full amount requested, plus the fees incurred for this Motion. See Mot. at 21 n.11.


9
  Plaintiff’s cases do not support a fee reduction here. See Opp. at 24 (citing Barclays Cap. Inc. v.
Theflyonthewall.com, No. 06 Civ. 4908 (DLC), 2010 WL 2640095, at *6 (S.D.N.Y. June 30, 2010)
(significant evidence of its financial circumstances); Williams v. Crichton, No. 93 Civ. 6829
(LMM), 1995 WL 449068, at *1, n.1 (S.D.N.Y. July 26, 1995) (plaintiff submitted affidavit).
10
   The case that Plaintiff cites does not support a reduction of costs where, as here, the costs were
reasonably and necessarily incurred. See Opp. at 24 (citing Farberware Licensing Co. LLC v.
Meyer Mktg. Co., No. 09 Civ. 2570 (HB), 2009 WL 5173787, at **5-6 (S.D.N.Y. Dec. 30, 2009),
aff’d, 428 F. App’x 97 (2d Cir. 2011) (deducting unnecessary costs and awarding $30,994.54 for
“costs associated with depositions”)).


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                                     Respectfully submitted,

Dated: New York, New York            MITCHELL SILBERBERG & KNUPP LLP
       November 30, 2023

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